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                                                       U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York


                                                       The Jacob K. Javits Federal Building
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                                                       New York, New York 10278

                                                       April 1, 2024

By ECF

The Honorable Sidney H. Stein
United States District Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

         Re:      United States v. Robert Menendez, et al.,
                  S4 23 Cr. 490 (SHS)

Dear Judge Stein:

        The Government respectfully writes in the above-captioned matter to request that the Court
order the defendants to provide particularized notice by April 4, 2024 as to (1) whether, and (2) if
so, on what bases, they intend to invoke at trial any affirmative defense, including that set forth in
the Foreign Agents Registration Act (“FARA”) for “activities not serving predominantly a foreign
interest.” 22 U.S.C. § 613(d). Although the Government presently expects to reach an agreed-
upon schedule for the remaining outstanding pretrial deadlines, the parties have reached an
impasse on this one issue. For the reasons set forth below, absent such notice meaningfully in
advance of trial, there is a substantial risk of delay or disruption of the trial pending litigation and
a ruling regarding the scope of the defense and/or a corresponding waiver of any otherwise-
applicable protection under the Speech or Debate Clause. Indeed, absent such notice meaningfully
in advance of trial, there may be multiple rounds of litigation and rulings, including during trial.
Accordingly, the Government now asks the Court to direct pretrial notice on this specific issue.

    I.         The Parties’ Negotiations to Date Regarding Outstanding Pretrial Deadlines and
               Disclosures

       The parties have conferred extensively regarding outstanding pretrial deadlines and
disclosures, including disclosures from the defense, for which there are no ordered deadlines.
Those discussions have been productive and have resulted in a significant narrowing of potential
disputes. Although the parties have not yet reached a final agreement on all of the outstanding
deadlines and related matters, the Government is hopeful that the parties will reach an acceptable
compromise to present to the Court this week.

        However, separate from deadlines for defense disclosures, the parties have reached an
impasse regarding the scope of defense disclosures. Specifically, the Government has requested
that the defendants provide notice of any affirmative defenses that they may seek to invoke at trial,
including, as is relevant to the two foreign agent charges, for “activities not serving predominantly
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a foreign interest,” 22 U.S.C. § 613(d). The defendants have declined to provide notice of this
affirmative defense, or of any other affirmative defense (apart from advice-of-counsel) that is not
expressly listed in Federal Rules of Criminal Procedure 12.1 through 12.3. Given the importance
of this issue, the Government now seeks an order from this Court requiring the defendants to
provide particularized notice of any affirmative defenses on or before this Thursday, April 4, 2024,
which is three days after the date on which the defendants have agreed to provide notice of those
affirmative defenses listed in Rules 12.1 through 12.3 and advice-of-counsel.

   II.        Applicable Law

         A.      Affirmative Defenses Under FARA

        As the Court is aware, Count Fourteen of the operative Superseding Indictment charges
Robert Menendez, Nadine Menendez, and Wael Hana with conspiring for Robert Menendez to act
as an agent of a foreign principal required to register under FARA, in violation of 18 U.S.C. § 371,
and Count Fifteen charges Robert Menendez with acting as such an agent required to register under
FARA, in violation of 18 U.S.C. §§ 219 and 2.

        As is relevant here, FARA exempts certain persons otherwise subject to its registration
requirements, including lawyers acting as such, an official of a foreign government who is not a
citizen of the United States, and “[a]ny person engaging or agreeing to engage only (1) in private
and nonpolitical activities in furtherance of the bona fide trade or commerce of such foreign
principal; or (2) in other activities not serving predominantly a foreign interest.” 22 U.S.C.
§ 613(b), (d), (g). The pertinent regulations, which have the force of law, provide that “[t]he
burden of establishing the availability of an exemption from registration under the Act shall rest
upon the person for whose benefit the exemption is claimed.” 28 C.F.R. § 5.300; see Att’y Gen.
of U.S. v. Irish N. Aid Comm., 530 F. Supp. 241, 255 (S.D.N.Y. 1981), aff’d, 668 F.2d 159 (2d Cir.
1982); see generally Meacham v. Knolls Atomic Power Lab., 554 U.S. 84, 91-92 (2008) (applying
the “familiar principle that when a proviso carves an exception out of the body of a statute or
contract those who set up such exception must prove it,” and explaining “[t]hat longstanding
convention is part of the backdrop against which the Congress writes laws, and we respect it unless
we have compelling reasons to think that Congress meant to put the burden of persuasion on the
other side” (internal quotation marks and citation omitted; alterations and ellipsis incorporated));
Schaffer v. Weast, 546 U.S. 49, 57-58 (2005) (“Absent some reason to believe that Congress
intended otherwise, therefore, we will conclude that the burden of persuasion lies where it usually
falls, upon the party seeking relief.”); cf. United States v. Rafiekian, 991 F.3d 529, 544 (4th Cir.
2021) (holding the “legal commercial transaction” exception under a different foreign agent
statute, 18 U.S.C. § 951, provides for “an affirmative defense—which must be raised first, if at all,
by a defendant”); United States v. Duran, No. 07 Cr. 20999, 2008 WL 11333989, at *2 (S.D. Fla.
Oct. 10, 2008) (same).
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       B.      Notice of Affirmative Defenses – Generally

         Preliminary questions concerning the admissibility of evidence, including whether
evidence is relevant or a privilege exists, are to be determined by the Court. Fed. R. Evid.
104(a). The Court has discretion to order a hearing to assist it in resolving such questions. See
Fed. R. Evid. 104(c)(3) (the court “must conduct a[] hearing” when “justice so requires”). The
Court’s authority to resolve such questions is rooted in its “inherent authority to manage the course
of trials.” United States v. Valencia, 826 F.2d 169, 171 (2d Cir. 1987) (internal quotation marks
and citation omitted). At such a hearing, the proponent of evidence bears the burden of
demonstrating its admissibility by a preponderance of the evidence. See Bourjaily v. United States,
483 U.S. 171, 175 (1987); see also United States v. Brooks, No. 08 Cr. 35 (PKL), 2008 WL
2332371, at *1 (S.D.N.Y. June 4, 2008) (“As the proponent of the proposed testimony, defendant
has the burden of establishing admissibility by a preponderance of the evidence.”); United States
v. Sabir, No. S4 05 Cr. 673 (LAP), 2007 WL 1373184, at *6 (S.D.N.Y. May 10, 2007) (the “burden
of showing that proffered testimony is offered to negate the mens rea element of a crime and not
in support of some improper defense theory falls squarely on the defendant” (internal quotation
marks and citation omitted)); United States v. Camacho, 353 F. Supp. 2d 524, 536 (S.D.N.Y. 2005)
(“defendants as proponents of the evidence bear the burden of [admissibility]”).

        Such a preliminary hearing may be ordered to determine the propriety or scope of a
proffered defense. See, e.g., United States v. Paul, 110 F.3d 869, 871 (2d Cir. 1997) (“[I]t is
appropriate for a court to hold a pretrial evidentiary hearing to determine whether a defense fails
as a matter of law.”). “If, after the hearing, the court finds that the defendant’s evidence is
insufficient as a matter of law to establish the defense, the court is under no duty to give the
requested jury charge or to allow the defendant to present the evidence to the jury.” Id. This is so
for good reason: “no proper interest of the defendant would be served by permitting his legally
insufficient evidence to be aired at trial, and interests of judicial economy suggest that the jury
should not be burdened with the matter.” United States v. Villegas, 899 F.2d 1324, 1343 (2d Cir.
1990); see also Fed. R. Evid. 103(d) (“To the extent practicable, the court must conduct a jury trial
so that inadmissible evidence is not suggested to the jury by any means.”).

        To determine whether a defendant’s proffered evidence or defense is proper, and whether
its presentation results in a waiver of otherwise applicable protections over additional information
or material, courts frequently order particularized pretrial notice of and reciprocal discovery
concerning affirmative defenses beyond those expressly listed in Rules 12.1 through 12.3—most
commonly advice-of-counsel, but also others such as duress—and, to the extent warranted, follow
notice with a hearing or argument, before trial. See, e.g., United States v. Bakhtiari, 913 F.2d
1053, 1057 (2d Cir. 1990); United States v. Fishbein, No. S1 21 Cr. 296 (PAC), 2023 WL 2734428,
at *4 (S.D.N.Y. Mar. 31, 2023); United States v. Scali, No. 16 Cr. 466 (NSR), 2018 WL 461441,
at *8 (S.D.N.Y. Jan. 18, 2018), aff’d 820 F. App’x 23 (2d Cir. 2020); United States v. Crowder,
325 F. Supp. 3d 131, 138 (D.D.C. 2018); United States v. Hatfield, No. 06 Cr. 550 (JS), 2010
WL183522, at *13 (E.D.N.Y. Jan. 8, 2010); see also United States v. Ash, No. 19 Cr. 780 (LAK)
(S.D.N.Y. Nov. 15, 2021) (Dkt. 105); United States v. Percoco, No. 16 Cr. 776 (VEC) (S.D.N.Y.
Nov. 2, 2017) (Dkt. 351).
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    III.      Discussion

        The Court should order the defendants to provide particularized notice on or before April
4, 2024, as to (1) whether, and (2) if so, on what bases, they intend to invoke at trial any affirmative
defense, including, in particular, that in FARA for “activities not serving predominantly a foreign
interest,” 22 U.S.C. § 613(d), for multiple reasons.

        First, not all evidence that Robert Menendez, or any other defendant, might seek to present
in support of such a hypothetical defense would be proper or admissible. As with any other matter
involving knowledge or intent, a defendant could not properly seek to make out the defense by,
for example, offering evidence that, in hindsight, the charged actions turned out to be in the interest
of the United States or otherwise good policy. See, e.g., City of Columbia v. Omni Outdoor
Advertising, Inc., 499 U.S. 365, 378 (1991) (a defendant may be “guilty of accepting a bribe even
if he would and should have taken, in the public interest, the same action for which the bribe was
paid”); United States v. Skelos, No. S1 15 Cr. 317 (KMW), 2016 WL 1532253, at *6 (S.D.N.Y.
Apr. 14, 2016) (not a defense to bribery that charged actions allegedly “were consistent with ‘the
best interest of [defendant’s] constituency and the citizens of New York State’”), vacated on other
grounds, 707 F. App’x 733 (2d Cir. 2017). Nor could a defendant properly seek to make out the
defense by pointing to purportedly similar actions of others without a connection to the pertinent
defendant’s contemporaneous knowledge and intent. Cf. United States v. Berg, 710 F. Supp. 438,
445 (E.D.N.Y. 1989) (testimony concerning the “custom of other arms dealers in complying with
arms export laws” precluded on the ground that such evidence was irrelevant to the state of mind
of defendants), aff’d in part, rev’d in part on other grounds sub nom. United States v. Schwartz,
924 F.2d 410 (2d Cir. 1991); see also, e.g., United States v. Kaplan, 490 F.3d 110, 122 (2d Cir.
2007) (holding district court erred in admitting evidence of one person’s knowledge to show
defendant’s knowledge without evidence that defendant was aware of the same information,
expressing doubt that evidence was relevant, and explaining that, in any event, it should have been
precluded under Rule 403 because it “required [the jury] to draw a series of inferences,
unsupported by other evidence,” yet was offered on “the ultimate issue in the case”); United States
v. Oldbear, 568 F.3d 814, 821 (10th Cir. 2009) (affirming preclusion of evidence in embezzlement
case as to how persons other than defendant used funds because “only [the defendant’s] actions
and state of mind were material to her guilt”). Without pretrial notice, it would be far more difficult
for the Court to police this critical evidentiary line, or to prevent the jury from hearing arguments,
including in opening statements, that are confusing or improper.

        Second, to seek to make out the defense, Robert Menendez or another defendant might seek
to introduce evidence, whether in the form of documents or testimony, otherwise theoretically or
actually subject to protection under the Speech or Debate Clause. Notably, Robert Menendez has
already suggested—including in legal filings—that he may seek to do so with respect to multiple
matters. (See Gov’t Omnibus Mem. of Law in Opp. to Defs. Mots. Directed to the S2 Indictment
(Dkt. 180) at 41 n.11 & 44 n.12.) However, Speech or Debate protection, like any other privilege
or protection, is waived by a defendant’s choice to present evidence. See, e.g., U.S. Football
League v. Nat’l Football League, No. 84 Civ. 7484 (PKL), 1986 WL 6341, at *4 (S.D.N.Y. May
30, 1986) (“The Senator’s willingness to be a witness in this action is a clear waiver of any
testimonial privilege he may enjoy under the Speech and Debate Clause.”), aff’d, 842 F.2d 1335
(2d Cir. 1988). Accordingly, to the extent that Robert Menendez seeks to introduce, or
countenance another defendant seeking to introduce, at trial evidence of acts that he otherwise
could reasonably assert were protected, the Government would be entitled to respond with
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evidence concerning the same acts or to cross-examine him or any other witness through whom
such evidence is introduced, without regard to the Speech or Debate Clause. See United States v.
Myers, 635 F.2d 932, 942 (2d Cir. 1980) (“The protection against being ‘questioned’ outside of
Congress prevents the use of legislative acts against a Member. It does not prevent him from
offering such acts in his own defense, even though he thereby subjects himself to cross-
examination.”); United States v. Renzi, 769 F.3d 731, 747 (9th Cir. 2014) (“We agree with the
Second, Third, and D.C. Circuits. We hold that, if a member of Congress offers evidence of his
own legislative acts at trial, the government is entitled to introduce rebuttal evidence narrowly
confined to the same legislative acts, and such rebuttal evidence does not constitute questioning
the member of Congress in violation of the Clause.” (citing Myers; United States v. Rostenkowski,
59 F.3d 1291, 1303 (D.C. Cir. 1995); and United States v. McDade, 28 F.3d 283, 294-95 (3d Cir.
1994)).

        This principle—that the holder of a protection or privilege may not use it as both a shield
and a sword—is neither novel nor unique to the Speech or Debate Clause. See, e.g., United States
v. Rylander, 460 U.S. 752, 758 (1983) (“We think the view of the Court of Appeals would convert
the privilege from the shield against compulsory self-incrimination which it was intended to be
into a sword whereby a claimant asserting the privilege would be freed from adducing proof in
support of a burden which would otherwise have been his. None of our cases support this view.”).
Without adequate pretrial notice, reciprocal discovery, and, if warranted, a hearing, the Court
would not be able to make a pretrial ruling regarding waiver, and litigation regarding the scope of
it would likely disrupt or delay trial.

        The risk of delay or disruption is particularly heightened because Robert Menendez has
withheld or redacted multiple materials in response to subpoenas or search warrants, on the ground
that they allegedly fall within the Speech or Debate Clause. Depending on the scope of what
Robert Menendez seeks to introduce through documents or testimony, or countenances another
defendant seeking to introduce, including through cross-examination of witnesses, the
Government might be entitled to some or all of those materials. See generally In re Grand Jury
Proceedings, 219 F.3d 175, 182 (2d Cir. 2000) (“[A] party cannot partially disclose privileged
communications or affirmatively rely on privileged communications to support its claim or defense
and then shield the underlying communications from scrutiny by the opposing party.”). It would
be exceedingly difficult, if not impossible, for the Government to come to a reasoned view as to
its position regarding the scope of waiver, and, if Robert Menendez were to object, for the Court
to rule on the objection, on the spur of the moment, particularly because the Court may wish to
review the materials in camera before ruling.

       Moreover, regardless of whether the Government may be entitled to review and seek to use
materials that Robert Menendez has asserted should be withheld or redacted, depending on the
scope of evidence presented, the Government might seek to obtain additional materials from the
Senate that might otherwise be protected or withheld absent waiver. But the Senate is a separate
branch of the federal government, and the process to seek and obtain legislative materials takes
time—thus further heightening the likelihood of a material delay or disruption of the trial, lest the
jury be left with a misimpression about relevant events.

       Finally, although there is a more than sufficient basis for the Court to order notice in any
event, Federal Rule of Criminal Procedure 12.3 also militates in favor of such an order. Rule 12.3
provides in pertinent part: “If a defendant intends to assert a defense of actual or believed exercise
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of public authority on behalf of a law enforcement agency or federal intelligence agency at the
time of the alleged offense, the defendant must so notify an attorney for the government in
writing[.]” Although the Senate Foreign Relations Committee is not a “law enforcement agency
or federal intelligence agency,” a defense that an action purportedly was believed to be in the
interest of the United States because it was supposedly undertaken in the course of the Chairman
or Ranking Member of that Committee’s work is analogous. Indeed, Robert Menendez has
repeatedly made similar arguments about his actions in the course of litigating this case. (See, e.g.,
Robert Menendez Mem. in Support of Mot. to Dismiss the S2 Indictment (Dkt. 120) at 7 (“Urging
federal officials to ‘engage’ on a sensitive foreign relations issue is precisely what a Senator on
the Foreign Relations Committee should be doing.”).) Rule 12.3 exists precisely to ensure that
where a defendant seeks to cloak or defend his actions as undertaken in the service of a
governmental entity’s proper mission, the Government has time to obtain information or materials
necessary to rebut that defense. Cf. United States v. Abcasis, 785 F. Supp. 1113, 1117 (E.D.N.Y.
1992) (“In the absence of notice, the government might have difficulty rebutting that
testimony. Thus, the unfair surprise to the government would be significant.”); see generally
Chambers v. Mississippi, 410 U.S. 284, 302 (1973) (“[T]he accused, as is required of the State,
must comply with established rules of procedure and evidence designed to assure both fairness
and reliability in the ascertainment of guilt and innocence.”); Williams v. Florida, 399 U.S. 78, 82
(1970) (“The adversary system of trial is hardly an end in itself; it is not yet a poker game in which
players enjoy an absolute right always to conceal their cards until played.”); see also id. (the
“search for truth” is enhanced by “both the defendant and the State [having] ample opportunity to
investigate certain facts crucial to the determination of guilt or innocence”). So too here.

    IV.    Conclusion

       For the reasons set forth above, the Court should order the defendants to provide on or
before April 4, 2024 particularized notice as to (1) whether, and (2) if so, on what bases, they
intend to invoke at trial any affirmative defense, including for “activities not serving
predominantly a foreign interest,” 22 U.S.C. § 613(d).
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